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                 IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF PUERTO RICO



 IN RE:

 MARIO CARRION CARRASQUILLO                CASE No: 15-07433 MCF
 DAMARIS GONZALEZ FLORES
                                                  CHAPTER 13
 Debtor


                 TRUSTEE’S MOTION FOR INCOME TAX RETURNS

 TO THE HONORABLE COURT:

       COMES NOW, Alejandro Oliveras Rivera, Standing Chapter 13

 Trustee, and very respectfully, ALLEGES, STATES and PRAYS:

       1.    The bankruptcy code imposes upon a Chapter 13 trustee

 certain duties among them those of: advise, other than on legal

 matters, and assist the debtor in performance under the plan;

 investigate the financial affairs of the debtor.1

       2.    In turn, the code imposes upon debtors the duty to

 cooperate with the trustee as necessary to enable the trustee to

 perform the trustee’s duties.2

       3.    The disclosure of financial information, as a duty of a

 debtor, is further prescribed specifically for cases under Chapter

 13, when the code mandates it be made at the request of the court,

 the United States Trustee, or any party in interest.                       Under



 1  11 U.S.C. sec. 1302(b)(4) and sec. 704(a)(4) cross referenced by sec.
 1302(b)(1).
 2 11 U.S.C. sec. 521(a)(3).
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 circumstances and within timeframes delineated in the code the

 Chapter 13 debtor is to furnish a …”statement, under penalty of

 perjury, of the income and expenditures of the debtor during the

 tax     year   of    the   debtor    most   recently   concluded      before      such

 statement is filed under this paragraph, and of the monthly income

 of the debtor, that shows how income, expenditures, and monthly

 income are calculated.”3

         4.     On    the   primal   duty    of   disclosure,    we    have   in   our

 jurisdiction, the case of In re Pick and Save4, citing the 9th

 Circuit Bankruptcy Appellate panel in the case of In re Searles5,

 concluding as follows:

         “The duty to disclose is a continuing one that does not end
         once the forms are submitted to the bankruptcy court; rather,
         a debtor must amend his financial statements if circumstances
         change’ Burnes v. Pemco Aeroplex, Inc., 291 F.3d 1282, 1286
         (11th Cir.2002), citing In re Coastal Plains, Inc., 179.

         5.     The     Debtor(s)     confirmed/approved        plan    contains     a

 provision regarding tax refunds which, for the purpose of this

 motion in abridged form states that, each year’s refund will be

 devoted to the plan as periodic payments.               Dkt 23.

         6.     Trustee     needs    to   determine   whether    for   the    year(s)

 Debtor(s) received a refund. As of this date, complete and legible

 copies of the tax returns have not been submitted.



 3   11 U.S.C. Sec. 521(f)(4).
 4   478 B.R. 110 (Bankr. D.P.R. 2012).
 5   317 B.R. 368 (B.A.P. 9TH Cir. 2004).
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        7.    The best evidence and a starting point on the above is

 copy(ies) of the corresponding filed income tax returns.                Hence,

 in order to gauge the extent of debtor(s) compliance or non

 compliance with his/her/their duties under the Code and pursuant

 to the terms of debtor(s) chapter 13 plan, review of the income

 tax returns is necessary.           Consequently, debtor(s) should provide

 complete and legible copies of the following tax returns (2015,

 2016 and 2017).

        8.    Debtor(s) do(es) not belong to the U.S. Armed Forces, the

 U.S. Coast Guard, the U.S. Public Health Service or the National

 Oceanic and Atmospheric Administration. A certificate issued by

 the U.S. Department of Defense, Manpower Data Center is attached

 to the original motion filed and the Trustee’s copy regarding the

 military status of Debtor(s).

        WHEREFORE, on the grounds above stated it is respectfully
 requested from this Honorable Court to grant this motion and
 consequently,         enter   an   order   directing   debtor(s)   to   submit
 complete and legible copy(ies) of the return(s) aforementioned
 within 14 days from the date of the order.

 NOTICE: Within fourteen (14) days after service as evidenced by the
 certification, and an additional three (3) days pursuant to Fed. R. Bank.
 P. 9006(f) if you were served by mail, any party against whom this paper
 has been served, or any other party to the action who objects to the
 relief sought herein, shall serve and file an objection or other
 appropriate response to this paper with the clerk’s office of the United
 States Bankruptcy Court for the District of Puerto Rico. If no objection
 or other response is filed within the time allowed herein, the paper
 will be deemed unopposed and may be granted unless: (i) the requested
 relief is forbidden by law; (ii) the requested relief is against public
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 policy; or (iii) in the opinion of the court, the interest of justice
 requires otherwise.

      CERTIFICATE OF SERVICE: I hereby certify that on this same
 date the foregoing document has been served to debtor(s) at the
 address of record. Also, the following parties will receive notice
 through the court’s CM/ECF electronic mail system: Debtors’
 attorney and to the Assistant United States Trustee, Monsita
 Lecaroz, Esq.

        RESPECTFULLY SUBMITTED. In San Juan, Puerto Rico, this               8
 day of May , 2019.
                                             /s/Alejandro Oliveras Rivera
                                                ALEJANDRO OLIVERAS RIVERA
                                                              USDC 131006
                                                       CHAPTER 13 TRUSTEE
                                                         P.O. Box 9024062
                                                  San Juan, PR 00902-4062
                                              Tel. 977-3500 Fax 977-3521
                                                       aorecf@ch13sju.com
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                                                                                                                                                                                         SCRA 4.11




SSN:                          XXX-XX-3444
Birth Date:
Last Name:                    CARRION CARRASQUILLO
First Name:                   MARIO
Middle Name:
Status As Of:                 May-07-2019
Certificate ID:               JGSC6C1CNZZCN1Z

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component
                   NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
         Case:15-07433-MCF13 Doc#:48 Filed:05/08/19 Entered:05/08/19 12:36:04                                                         Desc: Main
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
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Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q33) via this URL: https://scra.dmdc.osd.mil/faq.xhtml#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC ? 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected

WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
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                                                                                                                                                                                         SCRA 4.11




SSN:                          XXX-XX-0677
Birth Date:
Last Name:                    GONZALEZ FLORES
First Name:                   DAMARIS
Middle Name:
Status As Of:                 May-07-2019
Certificate ID:               FBNQNK6G74CC34R

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component
                   NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

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                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

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